







		NO. 12-09-00138-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




DAVID THOMAS,§
	APPEAL FROM THE 294TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	VAN ZANDT COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant pleaded guilty to theft of property having a value of $1,500 or more but less than
$20,000, a state jail felony.  See Tex. Penal Code Ann. § 31.03(e)(4)(A) (Vernon Supp. 2008).  The
trial court sentenced Appellant to confinement for eighteen months.  We have received the trial
court's certification showing that this is a plea bargain case and Appellant has no right to appeal. 
See Tex. R. App. P. 25.2(a)(2), (d).  The certification is signed by Appellant and indicates that
Appellant had waived his right to counsel.  Accordingly, the appeal is dismissed for want of
jurisdiction.

Opinion delivered May 13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.








(DO NOT PUBLISH)


